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                         TN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

  BMG RIGHTS MANAGEMENT                       )
  (US) LLC, et al.,                           )
                                              )
                        Plaintiffs,           )
                                              )    Civil Action No. l:14cvl611 (LO/JFA)
        V.                                    )
                                              )
 COX COMMUNICATIONS, INC., et al.,            )
                                              )
                        Defendants.           )


                                             ORDER

        It appearing that the matter has been resolved and that no opposition has been filed to the

 pending motions to seal, it is hereby

        ORDERED that the parties' motions to seal (Docket nos. 931, 965, 972, 985) are granted.

        Entered this 24th day of August, 2018.

                                                     ____ /s/
                                                     Jolin F. Anderson
                                                                             ;s0:::
                                                     United States Magistrntg Judge
                                                     John F. Anderson
                                                     United States Magistrate Judge
 Alexandria, Virginia
